Case 19-43402-mxm11 Doc 101 Filed 09/04/19              Entered 09/04/19 10:17:29         Page 1 of 2




                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

       In re:                                     §            Chapter 11
                                                  §
       Rooftop Group International Pte. Ltd.,     §            Case No. 19-43402-mxm11
                                                  §
                Debtor.                           §

                           AMENDED NOTICE OF HEARING

             Please take notice that the hearing on the Debtor’s Motion for an
       Order (a) Authorizing a Public Auction for the Sale of Certain Assets Free
       and Clear of All Liens, Claims and Encumbrances; (b) Approving
       Procedures for the Solicitation of Bids; (c) Approving the Stalking Horse Bid
       and Related Bid Protections; (d) Authorizing the Sale of Assets; and (e)
       Granting Related Relief [Docket No. 44] has been rescheduled for
       September 16, 2019, at 9:30 am before the Honorable Mark X. Mullin at
       the United States Court House, 201 West 10th Street, Room 122, Fort Worth,
       Texas 76102.

       Dated: September 4, 2019                Respectfully submitted,

                                               By: /s/ Michael P. Cooley
                                                  Michael P. Cooley (SBN 24034388)
                                                  Keith M. Aurzada (SBN 24009880)
                                                  Lindsey L. Robin (SBN 24091422)
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                                               Counsel to the Debtor




       ________________________________________________________________________________________
       NOTICE OF HEARING                                                                 PAGE 1
Case 19-43402-mxm11 Doc 101 Filed 09/04/19              Entered 09/04/19 10:17:29         Page 2 of 2



                               CERTIFICATE OF SERVICE

               The undersigned certifies that, on September 4, 2019, a true and
       correct copy of the foregoing document was served (i) via the Court’s
       Electronic Case Filing (ECF) system upon all parties registered to receive
       electronic notices in this case, including the Office of the United States
       Trustee and counsel for the Official Committee of Unsecured Creditors; and
       (ii) via email to the creditors named on the Debtors’ Form 204 “20 Largest
       Creditors List.”

                                                       /s/ Michael P. Cooley
                                                           Michael P. Cooley




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       NOTICE OF HEARING                                                                 PAGE 2
